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individually and on behalf of all others         
similarly situated                             
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        8SRQFRQVLGHUDWLRQRIWKH0RWLRQIRUPro Hac Vice $GPLVVLRQRI-XOLH+ROWGDWHG$SULO

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       25'(5(' WKDW -XOLH +ROW LV VSHFLDOO\ DGPLWWHG WR DSSHDU DQG SDUWLFLSDWH LQ WKH DERYH

FDSWLRQHG DFWLRQ DV FRFRXQVHO RQ EHKDOI RI 3ODLQWLIIV 5LOH\ $PRUH DQG &DUROLQH 3DUNHU

LQGLYLGXDOO\DQGRQEHKDOIRIDOORWKHUVVLPLODUO\VLWXDWHG7KH&OHUNVKDOOSURYLGHHOHFWURQLFQRWLFH

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